           Case 2:07-cr-00515-WBS Document 108 Filed 08/06/08 Page 1 of 3


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 4   Telephone: (916) 554-2797
 5
 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )   CR. S-07-515 WBS
12              Plaintiff,             )
                                       )   STIPULATION AND [PROPOSED] ORDER
13                                     )   CONTINUING STATUS CONFERENCE AND
           v.                          )   EXCLUDING TIME
14                                     )
     JORGE CHAVEZ et al.,              )
15                                     )
                Defendants.            )   Hon. William B. Shubb
16                                     )
17
18         The parties request that the status conference currently set
19   for August 4, 2008, be continued to October 6, 2008, and
20   stipulate that the time beginning August 4, 2008, and extending
21   through October 6, 2008, should be excluded from the calculation
22   of time under the Speedy Trial Act.       The parties submit that the
23   ends of justice are served by the Court excluding such time, so
24   that counsel for each defendant may have reasonable time
25   necessary for effective preparation, taking into account the
26   exercise of due diligence.     18 U.S.C. § 3161(h)(8)(B)(iv); Local
27   Code T4.
28   ///

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          Case 2:07-cr-00515-WBS Document 108 Filed 08/06/08 Page 2 of 3


 1        The government is in the process of providing each defendant
 2   with a plea offer.   Some offers have already been made.        All
 3   defendants are expected to have their offers no later than the
 4   week of August 4, 2008, if not sooner.      Each defendant will need
 5   time to consider the government’s offer.       Additionally, counsel
 6   for each defendant needs more time to review the discovery in
 7   this case, discuss that discovery with their respective clients,
 8   consider evidence that may affect the disposition of this case,
 9   and discuss with their clients how to proceed.        The parties
10   stipulate and agree that the interests of justice served by
11   granting this continuance outweigh the best interests of the
12   public and the defendants in a speedy trial.       18 U.S.C. §
13   3161(h)(8)(A).
14                                          Respectfully Submitted,
15                                          McGREGOR W. SCOTT
                                            United States Attorney
16
17   Dated: August 1, 2008              By:/s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
18                                         Assistant U.S. Attorney
19
     Dated: August 1, 2008              By:/s/ Patrick K. Hanly
20                                         PATRICK K. HANLY
                                           Attorney for defendant
21                                         Jorge Chavez
22
     Dated: August 1, 2008              By:/s/ Thomas A. Johnson
23                                         THOMAS A. JOHNSON
                                           Attorney for defendant
24                                         Armando Chavez
25
     Dated: August 1, 2008              By:/s/ Michael B. Bigelow
26                                         MICHAEL B. BIGELOW
                                           Attorney for defendant
27                                         Alex Hernandez
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          Case 2:07-cr-00515-WBS Document 108 Filed 08/06/08 Page 3 of 3


 1   Dated: August 1, 2008              By:/s/ Daniel M. Davis
                                           DANIEL M. DAVIS
 2                                         Attorney for defendant
                                           Juan Villa, Jr.
 3
 4   Dated: August 1, 2008              By:/s/ Hayes H. Gable
                                           HAYES H. GABLE, III
 5                                         Attorney for defendant
                                           Jamie Jiminez
 6
 7   Dated: August 1, 2008              By:/s/ Kresta N. Daily
                                           KRESTA N. DAILY
 8                                         Attorney for defendant
                                           Maricella Villa
 9
10   Dated: August 1, 2008              By:/s/ Michael Long
                                           MICHAEL LONG
11                                         Attorney for defendant
                                           Jose Penalosa
12
13                                    ORDER
14        The status conference in case number CR. S-07-0515 WBS,
15   currently set for August 4, 2008, is continued to October 6,
16   2008, and the time beginning August 4, 2008, and extending
17   through October 6, 2008, is excluded from the calculation of time
18   under the Speedy Trial Act.    The Court finds that interests of
19   justice served by granting this continuance outweigh the best
20   interests of the public and the defendants in a speedy trial.         18
21   U.S.C. § 3161(h)(8)(A).
22
23   IT IS SO ORDERED.
24
     Dated:   August 5, 2008
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